Case 2:01-cr-20312-.]Pl\/| Document 125 Filed 08/19/05 Page 1 of 6 PagelD 158

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wEsTERN olsTRlcT oF TENNEssEE HM M~ D'C‘

 

 

MEMPH|S D|VlSION -
03 llUG l9 Ptt li= 211

UN|TED STATES OF AMER|CA ;i__ _ , _ _‘ `_, D
_v- 2:01CR20312-01-lli|i&j].‘;j,:;|t§_“;;; HEOS`J E
TEDDY NULL

John A. Ferre|ll Retained

Defense Attorney

303 West Col|ege Street

Boonevi||e, MS 38829

*A-M-E-N-D-E-D JUDGMENT lN A CRIM|NAL CASE

(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the lndictment on May 5. 2003. Accordingly, the
court has adjudicated that the defendant is guilty of the following offense(s):

Date Count
Title & section Mmre_ofg,tfw Offense Number(s)
Conc|uded
18 U.S.C. §2312 Conspiracy; |nterstate Transportation 07/2112000 1

of Stolen Vehicles; and lnterstate
Transportation of Stolen Goods

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996.

Counts 2-6 are dismissed on the motion of the United States.

|T |S FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

 

Defendant’s Soc. Sec. No. XXX-XX-XXXX Ori inal Date of lm osition of Sentence:
Defendant’s Date of Birth: 02/06/1965 September 25, 2003
Deft's U.S. Marsha| No.: 18517-076 *Amended: August 19, 2005

Defendant’s Mailing Address:
2110 Norman Road
Corinth, lVlS 38834

sp nw

N PHIPPS MCCALLA
|TED ATES D|STR|CT JUDGE

August jg , 2005

This document entered on the docket sheet ln compliance
with Ftule us and/or 32(b} FltCrP on '

Case 2:01-cr-20312-.]Pl\/l Document 125 Filed 08/19/05 Page 2 of 6 PagelD 159

lMPR|SONMENT
The defendant is hereby committed to the custody of the United States Bureau of

Prisons to be imprisoned for a term of *30 Months to run concurrently with State of
Mississippi sentence out of Alcorn County Circuit Court, case #CR00-608‘.

The Court recommends to the Bureau of Prisons:

The defendant is remanded to the custody of the United States Marsha|.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES MARSHAL
By:

 

Deputy U.S. lVlarshal

 

lThe defendant’s sentence was adjusted 11 months pursuant to SGI.B(b) for a term of imprisonment under
Alcorn County Circuit Court case #CR00-608 and the reduction is for a period of i.mplisonment that will not be
credited by the Bureau of Prisons.

Case 2:01-cr-20312-.]Pl\/l Document 125 Filed 08/19/05 Page 3 of 6 PagelD 160

SUPERVISED RELEASE

Upon release from imprisonmentl the defendant shall be on supervised release for
a term of 3 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave the judicial district without the permission cf the court or probation ofticer;

2. The defendant shall report to the probation officer as directed bythe court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation ofticer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shali notify the probation officer ten(10) days prior to any change in residence or
empioyment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess. use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally soid, used,
distributed, or administered; -

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation ofncer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation ofticer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement oft`icer;

Case 2:01-cr-20312-.]Pl\/l Document 125 Filed 08/19/05 Page 4 of 6 PagelD 161

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation ocher, the defendant shall notify third parties of risks that may be
occasioned by the defendant's criminal record or personal history or characteristicsl and shall permit
the probation officer to make such notifications and to confirm the defendant's compliance with such
notification requirement

13. lf this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal Monetary Pena|ties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall not possess firearms or other dangerous weapons

2. The defendant shall submit to drug/alcoho|/mental health testing and drug/alcohol/menta|
health treatment programs as directed by the Probation Ocher.

3. The defendant shall seek and maintain full-time employment

14_. The defendant shall cooperate with DNA collection as directed by the Probation Ocher.

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Tota| Assessment Tota| Fine Tota| Restitution
$100.00 $92,237.16

The Special Assessment shall be due immediately.

Case 2:01-cr-20312-.]Pl\/l Document 125 Filed 08/19/05 Page 5 of 6 PagelD 162

Case No: 2:01CR20312-01-M| Defendant Name: Teddy NULL Page 5 of 5

F|NE
No fine imposed
REST|TUT|ON

Restitution in the amount of $92,237.16 is hereby ordered. The defendant shall
make restitution to the following victims in the amounts listed below.

Priority
Tota| Amount of Order
Name of pal[ee Amount Restitution Ordered or
of Loss Percentage
_Of_PeyM\_t

Motors insurance $92,237.16 $92,237.16
Attn: Erika Davis

P.O. Box10576

Atlanta, GA 30348-9623

|f the defendant makes a partial payment, each payee shall receive an approximately
proportional payment unless specined othenrvise in the priority order or percentage payment
column above.

The amount of loss and the amount of restitution ordered will be the same unless,
pursuant to 18 U.S.C. § 3664(f)(3)(B), the court orders nominal payments and this is
reflected in the Statement of Reasons page.

SCHEDULE OF PAYMENTS

Having assessed the defendants ability to pay, payment of the total criminal monetary penalties
shall be due as follows:

E. Special instructions regarding the payment of criminal monetary penalties:
The defendant shall pay restitution in regular monthly installments of not less than
10% of gross monthly income.

Un|ess the court has expressly ordered othenivise in the special instructions above, if thisjudgment
imposes a period of imprisonment payment of criminal monetary penalties shall be due during the
period of imprisonment A|| criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons' inmate Financial Responsibility Program, are made to the clerk of the
court. unless othenivise directed by the court, the probation ofticer, or the United States attomey.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

   

UNITED `sETATS DISTRICT COURT - WETERN DSTRICT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 125 in
case 2:01-CR-20312 Was distributed by faX, mail, or direct printing on
August 22, 2005 to the parties listed.

 

 

.1 ohn A. Ferrell

FERRELL & MARTIN, P.A.
P.O. Box 146

Booneville, MS 38829

L. Daniel Johnson

LAW OFFICE OF L. DANIEL .1 OHNSON
254 Court Ave.

Ste. 300

1\/1emphis7 TN 38103

Honorable .1 on McCalla
US DISTRICT COURT

